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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN




 IN RE: DISCIPLINE OF ATIORNEY WENDY
                                                                          ORDER
 ALISON NORA



       In case no. l 6-cv-617, a hearing on Judge Conley's order to show cause, Dkt. 49, was

held before a panel of three active judges of this court to consider the revocation of Attorney

Wendy Alison Nora's privilege of appearing in this court in future matters. On March 20,

2018, Judge Conley issued an order-endorsed by the three judges on the panel-sanctioning

Attorney Nora with a fine in the amount of $2,500 and suspending her from practice in the

Western District of Wisconsin for a period of six months. These penalties were ordered

stayed unless she submits a further sanctionable filing. Dk.t. 88.

       On March 30, 2018, the Supreme Court of Wisconsin issued a final decision in a

disciplinary proceeding against Attorney Nora. In the Matter of Disciplinary Proceedings Against

Wendy Alisou Nora, Attorney at Law, No. 2013AP653-D, 2018 WI 23. The Supreme Court

affirmed the referee's finding of four counts of misconduct arising, in part, from her conduct

in the United States District Court for the Western District of Wisconsin, and it suspended

Attorney Nora's law license for one year, effective April 30, 2018. Attorney Nora's

reinstatement to practice in Wisconsin after the suspension is not automatic, but is

conditioned on her demonstrating that she can conform her conduct to the ethical rules that

govern the practice of law.

       Pursuant to this court's Local Rule l .E. l, the discipline imposed by the Wisconsin

Supreme Court is automatically effective in this court. Pursuant to Local Rule 1.E.2,
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Attorney Nora may petition the Chief Judge of this court for modification or vacation of the

discipline as applied in this court.

       IT IS HEREBY ORDERED that Attorney Nora is suspended from practice in this

court, effective April 30, 2018, until her license to practice law in Wisconsin is restored, or

until she successfully petitions the Chief Judge to modify or vacate this order.

       IT IS FURTHER ORDERED that the court's order of March 20, 2018, shall continue

in effect following any reinstatement of Attorney Nora's right to practice before this court.



       Entered Apri l 13, 2018.

                                            BY THE COURT:



                                            JAMES D. PETERSON
                                            Chief District Judge




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